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IN THE UNITED STATES DISTRICT COU T
FOR THE NORTHERN DISTRICT OF TE AS
DALLAS DIVISION

 

UNITED STATES OF AMERICA

v. No.

THOMAS D. sELGAs (01) , y v ., g
MICHELLE L. sELGAs (02) 3 " 1 8 C R ' 3 b 6 - S

JoHN o. GREEN (03)

 

INDICTMENT
The Grand Jury Charges: »
Introduction

At times material to this Indictment:

l. THOMAS SELGAS and MICHELLE SELGAS (together, the “SELGASES”)
Were married.

2. JOHN O. GREEN (“GREEN”) was an attorney licensed to practice in the State of
Texas. GREEN maintained a number of Interest on Lawyers Trust Accounts
(IOLTAS). The State Bar of Texas requires that lawyers who handle money for
their clients must participate in the IOLTA Program, by depositing these funds
into an IOLTA bank account at an eligible institution All IOLTA accounts are
trust accounts.

3. MyMail, Ltd. (“MyMail”) Was an intellectual property development and licensing

partnership co-founded by THOMAS SELGAS in 2003.

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During tax year 2005, MyMail settled various lawsuits against internet service
providers for approximately $6.8 million (hereinafter the “Settlement”), from
which the SELGASES received a distribution of approximately $ l .l million.
Dillon Gage Inc. (“Dillon Gage”) was a metals trading firm used by the
SELGASES to purchase and sell gold coins.

Sterling Trust Company was a financial services company, later acquired by
Equity Trust Company (“Equity Trust”), through which the SELGASES opened
lndividual Retirement Accounts (“IRAs”).

Camp Hendrick Trust (“Camp Hendrick”) was a trust used by the SELGASES to
title real property they owned in Athens, Texas.

The Internal Revenue Service (“IRS”) was and is an agency of the United States
Department of Treasury responsible for administering the tax laws of the United
States and collecting taxes owed to the United States.

On or about April 10, 2006, the IRS assessed federal income taxes against
THOMAS SELGAS for the tax year 2002. On or about October 29, 2014, the I S
filed a notice of federal tax lien against THOMAS SELGAS with the Dallas
County Clerk, in Dallas County, Texas for tax year 2002.

On or about January 28, 2009, the IRS assessed federal income taxes against the
SELGASES, jointly, for the tax years 1998 through 2001. On or about October 29,
2014, the IRS filed notices of federal tax liens against the SELGASES with the

Dallas County Clerk, in Dallas County, Texas for tax years 1998 through 2001.

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ll. On or about August 4, 2010, the IRS assessed federal income taxes against the
SELGASES, individually, for tax year 2005.
Count One

Conspiracy to Defraud the United States
(Violation of 18 U.S.C. § 371)

12. Paragraphs l through ll of this Indictment are re-alleged and incorporated by
reference herein.

13. Beginning from at least in and around December 2005 and continuing up to and
including in and around August 2017, the exact dates being unknown to the Grand
Jury, in Dallas County, Texas, within the Northern District of Texas, and

elsewhere, Defendants,

THOMAS D. SELGAS,
MICHELLE L. SELGAS, and
JOHN O. GREEN
did unlawfully, voluntarily, intentionally, and knowingly conspire, combine,
confederate, and agree together and with each other and with other individuals
both known and unknown to the Grand Jury to defraud the United States for the
purpose of impeding, impairing, obstructing, and defeating the lawful Government

functions of the IRS in the ascertainment, computation, assessment, and collection

of the revenue: to wit, the SELGASES’ federal income taxes.

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Manner and Means
The manner and means by which the conspiracy was sought to be accomplished
included, among others, the following:
The SELGASES would and did agree not to file accurate income tax returns
The SELGASES and GREEN would and did cause the preparation and filing of a
false amended IRS Forrn 1065, U.S. Return of Partnership lncome (“Form 1065”)
on behalf of MyMail.
The SELGASES would and did sell and cause the sale of the gold coins.
The SELGASES and GREEN would and did deposit and cause to be deposited the
proceeds from the sale of gold coins into GREEN’s lOLTAs.
The SELGASES would and did transfer and cause to be transferred other personal
funds into GREEN’s lOLTAs.
THOMAS SELGAS would and did cause Equity Trust to distribute funds to him
during tax years 2012 and 2015, which he did not report a on tax return.
The SELGASES would and did transfer ownership of their personal residence to a
trust.
GREEN would and did use his IOLTAs to pay the personal expenses of the
SELGASES.
One or more of the Defendants took steps to coneal his/her involvement in the l

existence of the conspiracy.

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Overt Acts
ln furtherance of the conspiracy, and to effect the objects thereof, members of the
conspiracy and others, both known and unknown to the Grand Jury, committed
and caused to be committed the overt acts below, among others, within the
Northern District of Texas, and elsewhere:
On or about December 23, 2005, MICHELLE SELGAS directed the wire transfer

of her distribution of MyMail income to Dillon Gage.

On or about December 27, 2005, the SELGASES purchased and caused to be
purchased 7,090 gold coins through Dillon Gage.

On or about April 7, 2006, GREEN emailed the MyMailpartners about the
possible issuance of amended Schedules K-l, Partner’s Share of Income,
Deductions, and Credits, etc. (“Schedules K-l”), related to the 2005 Settlement
Proceeds.

On or about October ll, 2006, the DEFENDANTS filed and caused the filing of a
false amended IRS Form 1065 on behalf of MyMail, for tax year 2005, which
underreported MyMail’s income from the Settlement.

On or about GCtober ll, 2006, THOMAS SELGAS and GREEN sent and caused
to be sent to the MyMail partners false, amended Schedules K-l, for tax year
2005, which underreported each partner’s share of MyMail’s income from
Settlement.

On or about October 19, 2006, the DEFENDANTS prepared and caused to be

prepared, and submitted and caused to be submitted to the IRS, a statement “in

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lieu of a Form 1040” for tax year 2005, which substantially underreported the
SELGASES’ income for 2005.

On or about August 24, 2007, GREEN opened and caused to be opened an IOLTA
at Wachovia Bank, N.A., account ending in 0758 (“Wachovia IOLTA”).

On or about January 31, 2008, the SELGASES used 1,667 gold coins, with an
approximate value at the time of $385,000, to purchase real property in Athens,
Texas.

On or about June 28, 2008, the SELGASES opened and caused to be opened two
IRAS with Sterling Trust Company and purchased and caused to be purchased
gold coins through the IRAs.

On or about October 29, 2009, the SELGASES sold real property they owned in
Garland, Texas, for a profit of $142,000. Rather than pay the SELGASES’ taxes,
the DEFENDANTS caused the funds to be wire transferred to Dillon Gage for the
purchase of gold coins.

On or about the dates listed below, the DEFENDANTS deposited and caused to be
deposited into GREEN’s Wachovia IOLTA checks in the amounts listed below,

payable from Dillon Gage to THOMAS SELGAS, each such deposit constituting

 

 

 

 

 

 

 

an overt act:
Date Check Amount
33.a 9/4/2007 $8,275
33.b 9/24/2007 $8,235
33.c 11/16/2007 $7,890
33.d 11/26/2007 $8,240
33.e 12/12/2007 $8,060
33.f 12/27/2007 $8,280

 

 

 

 

 

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Date Check Amount
33 .g 3/14/2008 $9,960
33.h 3/28/2008 $9,280
33.i 3/28/2008 $9,448
33.j 4/4/2008 $17,900
33.k 4/4/2008 $9,080
33.1 5/9/2008 $8,760
33.m 5/23/2008 $18,460
33.n 6/10/2008 $27,000

 

 

 

On or about the dates listed below, the DEFENDANTS deposited and caused to be
deposited into GREEN’s WACHOVIA IOLTA checks in the following amounts,
payable from the payers listed below to THOMAS SELGAS and MICHELLE

SELGAS, each such deposit constituting an overt act:

 

 

 

 

 

 

 

 

 

Date Check Amount Payer

34.a 8/5/2008 $2,500 LookLocally.com

34.b 8/14/2008 $80 AAA Club Services, LLC

34.c 8/16/2008 $19,000 lndividuals identified by initials,
J.H. and W.H.

34.d 2/27/2009 $4,931 DirectBuy Inc.

34.c 3/17/2009 $6,167.55 State Farm Lloyds

34.f 3/31/2009 $6,988.88 State Farrn Lloyds

 

 

 

 

On or about December 11, 2009, GREEN opened and caused to be opened an
IOLTA at BBVA Compass Bank, N.A., account ending in 8393 (“Compass
IOLTA”).

On or about December 14, 2009, GREEN opened and caused to be opened an
IOLTA at Bank of America, N.A., account ending in 8888 (“BOA IOLTA”).

On or about the dates listed below, the DEFENDANTS deposited and caused to be

deposited into GREEN’s BOA IOLTA checks in the amounts listed below,

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payable from the payers listed below, to THOMAS SELGAS and MICHELLE

SELGAS, each such deposit constituting an overt act:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Check Amount Payer

37.a 12/15/2009 $1,000 Individuals identified by initials J.H.
and W.H.

37.b 8/12/2010 $8,708 Dillon Gage

37.c 4/04/2011 $26,424 Dillon Gage

37.d 12/17/2011 $1,000 Individual identified by initials, W.H.

37.c 7/17/2012 $1,142.49 MyMail

37.f 1/26/2013 38,820.00 Individuals identified by initials, M.C.
and S.C.

37.g 2/19/2014 $7,875 Burleson, Page and Gibson

37.h 7/31/2014 $5,402 Individuals identified by initials, T.C.
and W.C.

37.i 8/26/2014 $14,000 Individual identified by initials, W.H.

37.j 3/26/2015 $2,700 Individuals identified by initials, W.C.
and T.C.

37.k 4/29/2016 $24,014.23 MyMail

37.1 6/11/2016 $5 60 Individuals identified by initials, L.B
and R.B.

37 .m 7/26/2016 $2,450 MyMail

37.n 11/8/2016 $8,128.86 MyMail

37.0 12/16/2016 Sl3,993.61 MyMail

37.p 2/27/2017 $3 02 lndividuals identified by initials, W.C.
and T.C.

37.q 12/23/2016 $l60 Individuals identified by initials, A.N.
and M.N.

37 .r 6/3 0/2017 37,937.50 MyMail

37.s 7/13/2017 $6,312.50 MyMail

 

 

 

 

38. Cn or about the dates listed below, GREEN caused wiretransfers in the amounts

listed below from his BOA IOLTA to his Compass IOLTA, each such wire

constituting an overt act:

 

 

 

 

 

 

 

Date Amount of Wire Transfer
38.a 9/9/2010 $2,344.29
38.b 10/21/2010 $5,764.73

Date Amount of Wire Transfer

 

 

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38.0 10/29/2010 $7,592.88
38.d 11/17/2010 $5,868.93
38.e 12/17/2010 $7,857.06
38.f 12/29/2010 $7.336.51

 

39. On or about the dates listed below, GREEN paid and caused to be paid from his
Wachovia IOLTA the SELGASES’ personal expenses to the payees listed below

in the amounts listed below, each such payment constituting an overt act:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Check Amount Payee
39.a 9/5/2007 $2,710.56 Citi Cards
39.b 9/29/2007 3680.08 American Express
39.e 10/29/2007 $2,069.33 Citi Cards
39.d 11/29/2007 $4,411.52 Citi Cards
39.e 12/27/2007 $4,019.40 Citi Cards
39.f 3/26/2008 $20,594.52 Citi Cards
39.g 4/29/2008 $11,609.08 Citi Cards
39.h 6/4/2008 $18,089.7 8 'Citi Cards
39.i 8/20/2008 311,421.96 Citi Cards
39.j 9/19/2008 38,037.85 Citi Cards
39.k 11/30/2008 $8,428.04 Citi Cards
39.1 1/29/2009 $4,076.78 Citi Cards
39.m 2/27/2009 $4,087.17 Citi Cards
39.n 4/27/2009 $8,124.46 Citi Cards

 

 

 

40. On or about the dates listed below, GREEN paid and caused to be paid from his
Compass IOLTA the SELGASES’ personal expenses to the payees listed below in

the amounts listed below, each such payment constituting an overt act:

 

 

 

 

 

 

 

 

 

 

 

Date Check Amount Payee
40.a 9/15/2010 $373.24 Chase Card Services
40.b 9/25/2010 $28.00 Individual identified by
initials, K.V.
40.c 11/4/2010 $551.54 American Express
40.d 11/14/2010 $3,507.42 Citi Cards
40.e 2/4/2011 $4,365.19 Citi Cards
40.f 4/6/2012 $7,062.99 Citi Cards

 

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41. On or about the dates listed below, GREEN paid and caused to be paid from his

BOA IOLTA the SELGASES’ personal expenses to the payees listed below in the

amounts listed below, each such payment constituting an overt act:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Check Amount Payee
41.a 8/6/2010 $289.62 American Express
41.b 8/6/2010 $3,768.53 Citi Cards
41 .c 4/4/2011 $24,500 Citi Cards (4375)
41 .d 6/9/201 l $7,500 Individual identified by
initials, J.H.
41 .e 1/29/2013 $972.18 American Express
41 .f 1/29/2013 $4,523.45 Citi Cards
41 .g 2/28/2013 $6,001.51 Citi Cards
41 .h 2/26/2014 $1,255.11 Citi Cards
41 .i 2/26/2014 $500.64 American Express
41 .j 3/26/2014 $2,149. 17 Citi Cards
41 .k 4/30/2015 85,174.70 Citi Cards
41.1 5/30/2015 $2,286.29 Citi Cards
4l.m 8/1/2015 $2,399.93 Citi Cards
41 .n 8/1/2016 $3,022.17 Citi Cards
41 .o 9/5/2016 82,455.58 Citi Cards
41.p 12/29/2016 $5,419.98 Citi Cards
41.q 8/5/2017 $3,047 .84 Citi Cards

 

 

42. On or about August 30, 2011, the SELGASES transferred and caused to be
transferred title to the real property they owned in Athens, Texas, from their name
into a trust in the name of Camp Hendrick.

43. On or about December 19, 2012, THOMAS SELGAS caused the distribution and
took possession of 250 gold coins, with a value at the time of distribution of

approximately $l09,790, from his Equity Trust IRA account ending in 634.

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On or about February 1, 2013, THOMAS SELGAS sent and caused to be sent a
letter to Equity Trust in an attempt to lower the gross distribution and taxable
amounts reported on the IRS Form 1099-R for his 2012 IRA distribution

On or about March 25, 2013, THOMAS SELGAS sent and caused to be sent a
letter to Equity Trust in an attempt to lower the gross distribution and taxable
amounts reported on the IRS Form 1099-R for his 2012 IRA distribution

On or about May 26, 2015, THOMAS SELGAS caused the distribution and took
possession of 599 gold coins, with a value at the time of distribution of
approximately $178,949, from his Equity Trust IRA account ending in 634.

On or about February 4, 2016, THOMAS SELGAS sent and caused to be sent a
letter to Equity Trust in an attempt to lower the gross distribution amount reported

on the IRS Form 1099-R for his 2015 IRA distribution

All in violation of Title 18, United States Code, Section 371.

48.

49.

Count Two

Evasion of Payment for Tax Years 1998 through 2002 and 2005
(Violation of 26 U.S.C. § 7201)

Paragraphs 1 through 11 and 23 through 47 of this Indictment are re-alleged and
incorporated by reference herein

F rom in and around December 2005, through in and around August 2017, in the
Northern District of Texas and elsewhere, THOMAS SELGAS willfully attempted
to evade and defeat the payment of substantial income tax due and owing by him

for the calendar years 1998 through 2002 and 2005, by committing the following

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affirmative acts, among others:

(a)
(b)
(C)

(d)

dealing in gold coins;

converting distributions from MyMail and other income into gold coins;
depositing the proceeds from the sale of gold coins and other income into
GREEN’s IOLTAs; and

causing his personal expenditures to be paid from GREEN’s lOLTAs.

In violation of Title 26, United States Code, Section 7201.

Count Three

Evasion of Payment for Tax Years 1998 through 2001 and 2005

(Violation of26 U.S.C. § 7201)

50. Paragraphs 1 through 11 and 23 through 42 of this Indictment are re-alleged and

incorporated by reference herein

51. From in and around December 2005, through in and around August 2017 , in the

Northern District of Texas and elsewhere, MICHELLE SELGAS willfully

attempted to evade and defeat the payment of substantial income tax due and

owing by her for the calendar years 1998 through 2001 and 2005 by committing

the following affirmative acts, among others:

(a)
(b)
(C)

(d)

dealing in gold coins;

converting distributions from MyMail and other income into gold coins;
depositing the proceeds from the sale of gold coins and other income into
GREEN’s IOLTAs; and

causing her personal expenditures to be paid from GREEN’s IOLTAS.

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ln violation of Title 26, United States Code, Section 7201.

    

REPERsoN

ERIN NEALY CGX
UNITED STATES ATTORNEY

 

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MARAA. STRIER

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Trial Attomeys

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

V.

THoi\/iAs D. sELGAs (01)
MICHELLE L. sELGAs (02)
JoHN o. GREEN (03)

 

INDICTMENT

21 U.S.C. § 371
Conspiracy to Defraud the United States
1 Count

26 U.S.C. § 7201
Evasion of Payment for Tax Years 1998 through 2002 and 2005

 

 

2 Counts
d 1"'\ 1 l
A true bill rendered : ' y
FoRT WoRTH ` FoREPERsoN

 

Filed in open court this 18th day of July, 2018.

 

Warrant to issue on all defendants

 

 

